Dear Auditor Montee:
This office received your letter of January 8, 2010, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Bradley Ketcher (version 3). The fiscal note summary that you submitted is as follows:
  It is estimated this proposal would allow the City of St. Louis to eliminate duplicative and unnecessary administrative functions that could result in unknown savings. Reductions in reimbursements from the state's Legal Expense Fund could result in state revenue savings up to $1 million annually.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                               Very truly yours,
                                              _______________________  CHRIS KOSTER
Attorney General
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